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                 4                                  UNITED STATES DISTRICT COURT
                 5                                         DISTRICT OF NEVADA
                 6                                                     ***
                 7      UNITED STATES OF AMERICA,                               Case No. 2:15-CR-69 JCM (NJK)
                 8                                             Plaintiff(s),                      ORDER
                 9             v.
               10       JIANGUO HAN, ZHIWEN LIN, and
                        BING HAN,
               11
                                                             Defendant(s).
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                              Presently before the court is the case of United States v. Han et al., 2:15-cr-00069-JCM-
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                       NJK.
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                              This case involves three co-defendants. On May 18, 2015, defendant Zhiwen Lin (“Lin”)
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                       filed a stipulation to continue trial without even mentioning that there were other defendants. (Doc.
               17
                       # 39). On May 19, 2015, the court entered an order granting the stipulation and continuing trial
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                       for defendant Lin to September 14, 2015. (Doc. # 42). Defendants Jianguo Han and Bing Han are
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                       currently set for trial on June 29, 2015. (Doc. # 46).
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                              Upon further review, the court finds that defendant Lin’s stipulation should not have been
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                       granted. Defendant Lin’s stipulation had the effect of setting defendants for different trial dates in
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                       this case. The court finds this to be improper because defendants in this case are not severed.
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                              Accordingly,
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                              IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the court’s May 19,
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                       2015, order to continue, (doc. # 42), be, and the same hereby is, VACATED.
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                       ...
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James C. Mahan
U.S. District Judge
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                1             IT IS FURTHER ORDERED that defendant Zhiwen Lin’s stipulation to continue, (doc. #
                2      39), be, and the same hereby is, DENIED.
                3             DATED June 3, 2015.
                4                                                 __________________________________________
                                                                  UNITED STATES DISTRICT JUDGE
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James C. Mahan
U.S. District Judge                                                -2-
